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                                                                                    Juli Luke
                                                                                    Denton County, County Clerk
                                                                                    By: Deva Bruce, Deputy



                                   CAUSE NO. CV-2020-02890

 JASMINE BARNES,                                     §
   Plaintiff,                                        §                IN THE COUNTY COURT
                                                     §
 V.                                                  §                                  At Law No. 2
                                                     §
 BURLINGTON COAT FACTORY OF                          §
 TEXAS, INC.                                         §
   Defendant.                                        §              DENTON COUNTY, TEXAS


           DEFENDANT BURLINGTON COAT FACTORY OF TEXAS, INC.’S
                           ORIGINAL ANSWER

TO THE HONORABLE JUDGE OF SAID COURT:

       NOW COMES, Defendant Burlington Coat Factory of Texas, Inc. makes and files this

Defendant’s Original Answer to Plaintiff’s Original Petition, and would respectfully show unto the

Court the following:

                                               I.

       At this time, Defendant asserts a general denial as authorized by Rule 92 of the Texas Rules

of Civil Procedure, and respectfully requests that the Court and Jury require the Plaintiff to prove

Plaintiff’s claims, charges and allegations by a preponderance of the evidence as required by the

Constitution and Laws of the State of Texas.

                                               II.

       Pleading further, Defendant says that the occurrence in question, as well as the damages

complained of herein, were proximately caused or producingly caused, in whole or in part, by the

acts, omissions, fault, negligence, responsibility or other conduct on the part of the Plaintiff, third-

parties, settling persons and/or responsible third-parties for whom this Defendant are not legally

responsible. By reason thereof, Defendant says that its legal liability herein, if any, is as prescribed

under the provisions of the Texas Civil Practice & Remedies Code, §33.001 et seq. and as otherwise


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provided under applicable law.

                                                III.

        Pleading further, Defendant says that the discovery in this case may show that the events

which are the subject of this lawsuit were the result of new, independent, superseding and/or

intervening causes.

                                                IV.

        Pleading further, Defendant says that any claims for medical or healthcare expenses brought

by the Plaintiff herein are limited to the amount actually paid or incurred pursuant to the Texas Civil

Practice & Remedies Code §41.0105.

                                               V.

        Pleading further, Defendant says that any claims for economic loss (including loss of earnings,

earning capacity or other pecuniary losses) are governed by the limitations and provisions set forth in

the Texas Civil Practice & Remedies Code §18.091.

                                                VI.

        Pleading further, and in the alternative, Defendant would show that the discovery in this case

may show that the Plaintiff failed to mitigate its damages herein as required under applicable law and,

therefore, any such claims or causes of action are barred to that extent.

                                                VII.

        Pleading further, Defendant says that the discovery in this case may show that the injuries,

conditions and/or damages allegedly sustained by the Plaintiff herein were caused, in whole or in part,

by prior or subsequent medical problems, injuries, conditions or other events involving or pertaining

to the Plaintiff, for which this Defendant is not legally responsible.




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                                                VIII.

        Pleading further, Defendant invokes Rule 193.7 of the Texas Rules of Civil Procedure and

hereby gives notice of its intention to use any and all documents produced in discovery responses in

this cause as evidence in any pre-trial and/or trial proceedings.

                                                IX.

        Defendant respectfully demands a trial by jury on all contested issues of fact.

        WHEREFORE, PREMISES CONSIDERED, Defendant Burlington Coat Factory of

Texas, Inc. pray that the Plaintiff take nothing by Plaintiff’s suit against your said Defendant, that

Defendant have contribution and/or indemnity from other persons or parties who may be liable

herein, that Defendant be discharged with their costs and attorneys fees, and for such other and

further relief, both general and special, at law or in equity, to which Defendant may be justly

entitled.


                                                Respectfully submitted,

                                                KANE RUSSELL COLEMAN LOGAN PC

                                                By:
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                                                ATTORNEYS FOR DEFENDANT
                                                BURLINGTON COAT FACTORY OF TEXAS, INC.



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                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the above and foregoing document has been
sent to all known counsel pursuant to the Texas Rules of Civil Procedure on this the 15th day of
December, 2020:

       Attorney for Plaintiff
       Mahtab Doty
       Ben Abbott & Associates, PLLC
       1934 Pendleton Drive
       Garland, TX 75041
       eservice@benabbott.co




                                                    Chris C. Pappas




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